Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 1 of 9

!\(`} 245|} (Rev. l|t|(:} Judgincnt in il L'riinin.'il (`nse
wl Sheel t

UNiTED STATES DiSTRICT COURT
SOUTIIERN DISTRIC'I‘ OF IOWA

UNI'I`E[J ST:'\TES OF AMERlC/\ § JUDGMENT IN A CRIMINAL CASE
v. )
Jason Andrew Smith § Casc Numbcr: 4:16-cr»00151-001
§ USM Numbcr; 17706-030
t _F-__J_O_h_n__SP§"_m§"

Det`endam's Attomcy

THE DEFENDANT:

m,P|‘~`“d‘~`d §"i“$` m "‘“""i-"‘F Count Two of the |ndictment filed on September 20. 2016

[:I pleaded nolo contendere lo eount{.~i)
which was accepted by the eourtt

[j was |`ound guilty on coun|(.~:)
utter n plea oi`not guiltyl ` " ' ' _ " "` ' ' ""m__'

T|ic defendant is adjudicated guilty of` these oi`tcnscs:

 

'l`ille & Seelien N:tture of{)f|'ense Ol`fense l~lndct| (.`0unt
18 U.S.C. § 2252(a}(4}{Et). Possession of Chitd Pornography - 07!14!2015 Two
2252(b)(2)

m See additional counlls} on page 2

Thi.‘ defendant is senleneed ns provided in pages 2 through 9 oi`this judglncnt. Thc sentence is imposed pursuant lo the
Senteneiog Re|`orni )\et <)l` |98-'1.

i:l `I`hc defendant has been found not guilty on cuttntts}

E{CG\IUUS] One dis m arc dismissed on the motion o|`the United Statcs.

_ ll is ordered l_l!;lt lite de|`end:_tnt _lu.tsl notify the Unit_ed$tattes attorney l`or this district within 30 dn\'s oi`;tn_y cllz_lnge o|` nnnic. residencel
ermtn|`mg address nnti|_ :_11| [incs. restituuon_. eozns. and special assessments imposed by this judgment are fully paid If ordered to pay restituuon.
thc defendant must notify thc court nnd l.'nlted St;ttes nttomc)' ofni:ncrrai changes in economic clrcn:'nstztnccsv

Ju|y 6, 2017

_ -lJnl-c_ of liniposiiron o|` judgment

,O`

' ey, Chief U._S; _ trict dodge

Name oI`Judgc '|'it!e ol`.ludge

  

 

JH'Y §_-_ §9“7_

Daie

Case 4:16-cr-00151-.]A.]-HCA Document 69 Eiled 07/06/17 Page 2 of 9

AO 2458 (Rcv. | |/16) .ludgmcnt in a Criminnl Casc

vi Shcet 2 - imprisonment
_ W=

Judgment Page: 2 ol` 9
DEFENDANT: Jason Andrew Smith

CASE NUMBER: 4:16-cr-00151-001

IMPRISONMENT

The defendant is hereby committed to the custody ol` the United States Bureau of Prisons to be imprisoned f`or a
total term ol`:

90 months as to Count Two of the Indictment filed on September 20, 2016.

I:l The court makes the following recommendations to the Bureau of Prisons:

d The defendant is remanded to the custody of the United States Marshal.

lj 'l`he defendant shall surrender to the United States Marshal for this district:
|:l at __...._
l:l as notified by the United States Marshal.

-.,.“_M_._.. l:] a.m. C] p.m. on

 

 

|:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before on

 

l:l as notified by the United States Marshal.

l:l as notified by the Probation or Prctrial Services Oflice.

 

 

 

 

RETURN
l have executed this judgment as follows:
Dcf'cndant delivered on to
a ‘___ , with a certified copy of thisjudgment.
UNlTED S`I`ATES MARSHAL
By

 

DEPUTY UN|TED STATES MARSHAL

Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 3 of 9

AO 2458 (Rcv. l |/l6) Judgmcni in n Criminal Casc
vi Shcet 3 - Supcrviscd Relcasc

 

 

DEFENDANT: Jason Andrew smith J“dg'"°"‘ Page: 3 °fg
cASE NUMBER: 4:16-cr-00151-001

SUPERVISED RELEASE

Upon release from imprisonment. the defendant shall be on supervised release for a term of :
15 years as to Count Two of the |ndictment filed on September 20, 2016.

MANDATORY CONDITIONS

You must not commit another federal, state or local crimc.

You must not unlawfully possess a controlled substancc.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thercahcr, as determined by the court.

C] Thc above drug testing condition is suspended, based on thc court's determination that you
pose a low risk of future substance abusc. (chech yapplrcable)
4. MYou must cooperate in the collection of DNA as directed by the probation ofticcr. (check ifapplimble)
5. UYou must comply with the requirements of the Scx Offendcr Registration and Notification Act (42 U.S.C. § 16901, el seq.) as

directed by thc probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you rcsidc, work,
arc a student. or were convicted of a qualifying offensc. (check ifapplrcable)

6. |:| You must participate in an approved program for domestic violence. (check ifapplicable)

.‘*'.NZ"

You must comply with thc standard conditions that have been adopted by this court as well as with any other conditions on thc attached
pagc.

Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 4 of 9

AO 245B (Rev. ll/lti) judgment in a Crimina| Case

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Sheet 3 -- Supervised Relcase

[)EFEN[)ANT; Jason Andrew Smith Judgment Pagc: 4 of9
CASENUMBER; 4:16-cr-00151-001

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. Thesc conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition.

l.

You must report to the probation office in the federal judicial district where you arc authorized to reside within 72 hours of your

it'_e|case from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
ramc.

Afier initially reporting to the probation officc. you will receive instructions from the court or the probation officer about how and

when you must report to the probation officer. and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting pemiission from the

court or the probation officer.

you must answer truthfully the questions asked by your probation officer.

You must live at a place approved by thc probation officer. lf you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. lf notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to

take any items prohibited by the conditions of your supervision that he or she observes in plain view.

Vou must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from

doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses

you from doing so. lf` you plan to change where you work or anything about your work (such as your position or your job

responsibilities), you must notify the probation officer at least 10 days before the change. lf notifying the probation officer at least 10

days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of

becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been

convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the

probation officer.

lf you are arrested or questioned by a law enforcement officcr, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was

designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

lf the probation officer determines that you pose a risk to another person (including an organization), the probation officer may

require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the

person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of' supervision.

U.S. Probation Off`ice Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions 1 understand additional information regarding these conditions is available at the www.uscourts.gov.

Defendant's Signature ww Date

 

 

Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 5 019

AO 2453 (Rev. ll/l()) Judgmcnl in a Criminal Ciisc

vl Shcet 3C - Supcrvi`sed Release

 

DEFi-:NDANT: Jason Andrew smith J“dg'“°“‘ P“g°‘ 5 °f°
cAsE NuMBER: 4;16-cr-00151-001

SPECIAL CONDITIONS OF SUPERVISION

You must participate in a sex offender treatment program, to include psychological testing and polygraph examinations, as
directed by the U.S. Probation Officer. You must also abide by all supplemental conditions of sex offender treatment. to
include abstaining from alcohol. Participation may include inpatient/outpatient treatment, if deemed necessary by the
treatment provider. You must contribute to the costs of services rendered (co-payment) based on ability to pay or
availability of third party payment. Sex offender assessments and treatment shall be conducted by therapists and
polygraph examiners approved by the U.S. Probation Office, who shall release all reports to the U.S. Probation Office.
The results of polygraph examinations will not be used for the purpose of revocation of supervised release or probation. lt
disclosure is required by mandatory reporting laws, polygraph results will be reported to appropriate treatment personnel,
law enforcement. and related agencies with the approval of the Court. lf polygraph results reveal possible new criminal
behavior, this will be reported to the appropriate law enforcement and related agencies after obtaining approval from the
Court.

You must not have any direct contact (personal. electronic, mail. or othenivise) with any child you know or reasonably
should know to be under the age of 18. including in employment, without the prior approval of the U.S. Probation Ofticer. lf
contact is approved. you must comply with any conditions or limitations on this contact. as set forth by the U.S. Probation
Oflicer. Any unapproved direct contact must be reported to the U.S. Probation Officer within 24 hours. Direct contact
does not include incidental contact during ordinary daily activities in public places.

You must not view or possess any °‘visual depiction” (as defined in 18 U.S.C. § 2256). including any photograph, artwork,
n|m, video, picture, or computer or computer-generated image or picture, whether made or produced by electronicl
mechanica|, or other means. of “sexua|ly explicit conduct” (as defined in 18 U.S.C. § 2256). You must not correspond with
anyone in the business of providing such material, or enter adult entertainment venues where sexually explicit conduct is
the primary product(s) for purchase or viewing.

You must comply with all sex offender laws for the state in which you reside and must register with the local sheriffs office
within the applicable time frame.

You must not access the internet or possess and/or use computers (as defined in 18 U.S.C. § 1030(e)(1)), internet capable
devices, cellular telephones. and other electronic communications or data storage devices or media without the prior
approval of the U.S. Probation Officer. |f computer or internet use for employment is approved by the U.S. Probation
Officer, you must permit third party disclosure to any employer or potential employer concerning any computer/internet
related restrictions that are imposed upon you.

You must submit to a mental health evaluation. |f treatment is recommended, you must participate in an approved
treatment program and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient
treatment and/or compliance with a medication regimen. You will contribute to the costs of services rendered
(co-payment) based on ability to pay or availability of third party payment.

You must pay restitution in the amount $10.000. You will cooperate with the U.S. Probation Officer in developing a monthly
payment plan consistent with a schedule of allowable expenses provided by the U.S. Probation Oftice. You may be
required to participate in an lRS Offset Program and/or Treasury Offset Program which may include the garnishment of
wages or seizure of all or part of any income tax refund and/or any government payment to be applied toward the
restitution balance.

You must not apply for, solicit. or incur any further debt, included but not limited to loans, lines of credit, or credit card
charges, either as a principal or cosigner. as an individua|. or through any corporate entity, without nrst obtaining written
permission from the U.S. Probation Oflicer.

You must provide complete access to financial information. including disclosure of all business and personal finances. to
the U.S. Probation Officer.

Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 6 of 9

AO 2458 (Rev. l 1716) Judginent in a Criininal Case
Sheet JC - Supervised Release

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DEFENDANT; Jason Andrew smith J“dg‘“°‘“ P“g°: 6 °r°
cAsE NUMBER; 4116-cr-00151-001

ADDITIONAL SPECIAL CONDITIONS OF SUPERVISION

You will submit to a search of your person, property. residence, adjacent structures, office. vehicle, papers. computers (as
defined in 18 U.S.C. § 1030(e)(1)). and other electronic communications or data storage devices or media, conducted by a
U.S. Probation Ofticer. Failure to submit to a search may be grounds for revocation. You must warn any other residents
or occupants that the premises and/or vehicle may be subject to searches pursuant to this condition. An officer may
conduct a search pursuant to this condition only when reasonable suspicion exists that you have violated a condition of
your release and/or that the area(s) or item(s) to be searched contain evidence of this violation or contain contraband Any
search must be conducted at a reasonable time and in a reasonable manner. This condition may be invoked with or
without the assistance of law enforcemenl, including the U.S. Marshals Service.

Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 7 of 9

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_iudgtrient Prtge: 'i' of9

DEFENDANT: Jason Andrew Smith
CASE NUMBER: 4:16-cr-00151-001

CRIMINAL MONETARY PENALTIES

'|`iic defendant iinist pay the total criminal monetary penalties under t|ie schedule oi`p:tyinents on Slieet 6.

 

1"5$1~‘55|1\|!111 .lV'I`i\ .»\ssessiueiit * I"iiie l{eslitiitiun

'l`()'l`ALS S 100.00 S 0`00 5 0.00 S 10.000.00

:i `l`iie determination of restitution is deferred until . i\ii .-Iint-riderf.iiiii’j__»uieut iii u(`i'i`irii`ntif (`n.i'e i.-it)?i§r'i will be entered
after such determination

:] The defendant must make restitution (including communityl i'estitlition) to t|ie following payees iii t|ie amount listed beiow.
[f`t|te defendant makes a partial pn_\'menl. eneh payee shall receive ali approxintntei_\' pi'o{)ortioned pn)'meiit. unless specified other\\'isc_in
the priorityl _or_der or percentage payment column belong liot\'ever, pursuant to 18 L.S. `, § 3664{1).;11| nonfederal victims must be paid
before the L:riiied Stales is paid.

N:nne of |’:i\'ee 'l`otiil I,oss** l'testitiition (}rilered l’riorit\' or l’ereenl:tge

Lenahan Law, P.L.L.C.. FiBi‘O Ange|a $1.250.00

2655 Vi|la Creek. Suite 222 Da||as. TX 75234

Cusack, Gilfi||art, and O‘Day. LLC "Cindy" $1.250.00

415 Hamilton Boulevard Peoria. |L 61602

Caro| L. Hepborn in trust for Vio|et $1,250.00

200 Frist Avenue, Suite 550 Seatt|e. WA 98119

Carol L_ Hepburri in trust for Sarah $1,250.00

200 Frist Avenue, Suite 550 Seatt|e, WA 98119

'I`OT.~\ l .S

$0.00 S‘|0.000.0U

itestitution amount ordered pursuant to plea agreement S

'l'lie defendant must piiy interest on restitution and ii line ol`niore tli:in SZ.$UU. unless t|ie restitution or line is paid in l`ii|l before t|ie
fifteenth day tiller the date ofthe jiidgnieitl. pursuant to 18 U.S.C, § 36 l ll l]. r‘\|l ol`t|te payment options oil S|teel 6 may l)e subject
le penalties for delinquency and default. pursuant lo 18 LJ.S.(.`. § 3612{g,l.

`l`lte court determined flint t|ic defendant does not iiatvc lite tihilily to pay interest and il is ordered tlttit:
[] the interest requirement is waived |`or t|ie [] line |:] i'estiliilioit.

l:i the interest requirement for lite I:] lilte E:\ restitution is itiodi|'ied ns i`o|lows:

* Ji.istiee for Victirns of"|`r;iff`ickin’ Act ol`2015, lfiib. l.. No. l |4-22. ` _ _ ` _
"‘"‘ Findirigs for the total aittounl 0 losses are red god under Cituplers 109./\. | lt), l l()/\. and l 13/\ of Tltie 18 for offenses committed on or
).

after Septentber 13. 1994, but before Apri| 23, l

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Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 8 of 9

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or;FcNoANT: Jason Andrew smith Judl"“°m dee 0
c/\si-; Nuiviui~;a: 4;i6-cr-00151_001

ADI)I'I`IONAL RESTITUTION PAYEES

Priority or
" '\\ Tota| l.oss* I{estitittioii Ortlet'etl Pereentage

Caro| L. I-tepburn in trust for Sierra. Sl<ytar. or Sa||y $1.250.00
200 Frist Averiue. Suite 550 Seattle. WA 98119

Marsh Law Firm PLLC in trust for Andy 31,250.00
548 Marl<et Street, #65‘|35 San Francisco. CA 94104

Deborah A. Bianco in trust for "Pia," "Ava," and "Mya" $1,250.00
14535 Bel|evue-Redmond Road‘ Suite 201
Be||evue. WA 98007

The Law Oft'iee of Erik Bauer in trust for the 8 Kids 31,250.00
Series

215 Tacoma Averu.ie South Tacoma. WA 98402

` "‘ l"indin_ig_s for llte total tttmuiit of losses tire re%uiredultdet‘ (`hapter's |U‘).'\. I l(}, l |I):\. and l l.'§i\ o|`i`il|e lS for offenses committed
on or alter Septeinber |3. l‘)‘)-t. l'iut before .»\pril 23, 1‘) 6.

 

Case 4:16-cr-00151-.]A.]-HCA Document 69 Filed 07/06/17 Page 9 of 9

AO 2453 (Rev. ll/|()) judgment in ii Criminal Case
vi Sheet 6 -~ Sehedu|e of Payments

 

Judgment Page: 9 of 9
DEFENDANT: Jason Andrew Smith

CASE NUMBER: 4:16-cr-00151-001

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A d Liimp sum payment of $ 10.100.00 due immediately, balance due
[] not later than , or

ij in accordance C| C, [:| D. U E,or dee|ow; or

B [:] Payment to begin immediately (may be combined with [J C, |_`_] D. or |:] F below); or
C |:] Payment in equal __4“_ (e.g., weekly. monrh!y, quarrerly) installments of $ __ over a period of
_______me {e.g.. mom/is or_vears), to commence (i».g., 30 or 60 days) alter the date of this judgment; or
D [] Payment in equal (e.g., weekly, momhly, quarrerly) installments of S ' over a period of
(e.g.. months or_vears), to commence 7 77 (e.g.. 30 or 60 days) alter release from imprisonment to a
term ofsupervision; or
|:`. |:| Payment during the term of supervised release will commence within ` (e.g.. 30 or 60 days) after release from

imprisoninent. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F d Specia| instructions regarding the payment of criminal monetary penalties:

All criminal monetary payments are to be made to the Clcrk's Of`t`ice, U.S. District Court, P.O. Box 9344,

Des Moines, IA. 50306~9344.

Wliile on supervised release, you shall cooperate with the Probation OtTicer in developing a monthly payment plan
consistent with a schedule of allowable expenses provided by thc Probation Ol`f'ice.

Unless,the co_urt has expressly ordered otherwise, if this `udgment imposes imprisonment pa ment of criminal monetary enalties is due during
th_e period of impri_sqn_ment. Al| crimnal monetary pena ties except those payments made t rough the Federal Bureau o Pnsons’ Inmate
Financial Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Severa|

Defendant and Co-Defend_ant Names and Case Numbers (including defendant mmiber), Totnl Amount, .Ioint and Severa| Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution.

l:l

The defendant shall pay the following court cost(s):

ij The defendant shall forfeit the defendant's interest in the following property to the United States:

Hewtett Packard Pavi|lon A6400 tower (SN: CNX81005XR); Seagate SATA 50068 hard disk drive (SN: BQGSB9HE); Asus model M328F mini-tower
computer (SN: ECPDCGOOt DBO); Westem Digital 1TB hard disk dn've (SN: WCCSFPENU54N); Seagate external 1TB hard drive (SN: 2GHMP931):
Seagate external 2TB hard drive (SN: NAOLEO47), as outlined in the Preliminary Order of Forteiture filed on Mareh 21. 2017.

Payments shall be applied in the followii`iFrorder: ( l ) assessment, (2) restitution principal (3) restitution interest, (4) fine principal,($) fine
interest, (6) community restitution, (7) J A assessment, and (8) costs, including cost of prosecution and court costs,

